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                                       ORDERED.
         Dated: February 16, 2021




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:                                                       Case No.: 3:20-bk-03304-JAF

GRANTLAND KINGMAN,

                  Debtor.
___________________________ /

           CONSENT ORDER SUSTAINING IN PART AND OVERRULING IN PART
             TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTIONS

This case is before the Court upon the Trustee’s Objection to Debtor’s Claim of Exemptions (Doc. 9).

Upon the consents of the Debtor and the Trustee, it is

         ORDERED:

         1.    The Trustee’s Objection to the Debtor’s Claim of Exemptions (Doc. 9) in the Debtor’s

1974 Hinckley Monarch Sailing Vessel claimed as exempt pursuant to Article X, Section 4(a)(1) of

the Florida Constitution and F.S.A. §§222.01 and 222.02 is SUSTAINED.

         2.    The Trustee’s Objection to the Debtor’s Claim of Exemptions (Doc. 9) as it relates to

the bank accounts and miscellaneous personal property as listed on the Debtor’s Schedule C and

claimed as exempt pursuant to Article X, Section 4(a)(2) of the Florida Constitution is

OVERRULED.

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The undersigned parties consent to the foregoing order.

McCONNELL LAW GROUP, P.A.                       TODD W. HENRY LAW OFFICE


     /s/ Jerrett M. McConnell                       /s/ Todd W. Henry*
By: ______________________________              By: ______________________________
    Jerrett M. McConnell                             Todd W. Henry
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ATTORNEY FOR ALEXANDER G.                       ATTORNEY FOR DEBTOR
SMITH


* Filer’s Attestation: Pursuant to Local Rule 1001-2(e)(3) regarding signatures, Jerrett M.
McConnell attests that concurrence in the filing of this paper has been obtained.




Attorney, Jerrett M. McConnell, Esq. is directed to serve a copy of this Order on interested parties
who are non-CM/ECF users and file a proof of service within 3 days of entry of the Order.




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